  Case 4:21-cr-00005-O          Document 1       Filed 01/07/21       Page 1 of 2      PageID 1



                      IN THE UNITED STATES DISTRICT COURT FOR THE

                               NORTHERN DISTRICT OF TEXAS
                                                                                      FILED
                                                                                    January 7, 2021
                                       Fort Worth Division                       KAREN MITCHELL
                                                                               CLERK, U.S. DISTRICT
                                                  )                                  COURT bb
UNITED STATES OF AMERICA                          )
                                                  )             4:21-CR-005-O
                 v.                               )
                                                  )
THE BOEING COMPANY,                               )
                                                  )
                                                  )             Count 1: 18 U.S.C. § 371
                         Defendant.               )
                                                  )

                                 CRIMINAL INFORMATION

The United States of America charges:

                                          COUNT ONE
                             (Conspiracy to Defraud the United States)

       1.        From at least in or around November 2016 through at least in or around December

2018, in the Northern District of Texas and elsewhere, the Defendant,

                                   THE BOEING COMPANY,

knowingly and willfully, and with the intent to defraud, conspired and agreed together with others

to defraud the United States by impairing, obstructing, defeating, and interfering with, by dishonest

means, the lawful function of a United States government agency, to wit, the Federal Aviation

Administration Aircraft Evaluation Group (“FAA AEG”) within the United States Department of

Transportation, in connection with the FAA AEG’s evaluation of the Boeing 737 MAX airplane’s

Maneuvering Characteristics Augmentation System (“MCAS”), including for purposes of the 737

MAX Flight Standardization Board Report (“FSB Report”) and the 737 MAX differences-training

determination.



                                                 1
  Case 4:21-cr-00005-O           Document 1       Filed 01/07/21       Page 2 of 2       PageID 2



       2.       In furtherance of the conspiracy and to effect its objects, in the Northern District of

Texas and elsewhere, the Defendant,

                                    THE BOEING COMPANY,

together with others, knowingly committed and caused the commission of the following overt acts,

among others:

                a. On or about January 17, 2017, an employee of THE BOEING
                   COMPANY emailed an employee of the FAA AEG about the
                   737 MAX FSB Report, stating in part, “Flight Controls: Delete
                   MCAS, recall we decided we weren’t going to cover it [. . .]
                   since it’s way outside the normal operating envelope.”

                b. On or about July 7, 2017, an employee of THE BOEING
                   COMPANY emailed employees of at least two major
                   U.S.-based airline customers, stating in part, “Attached is the
                   final and approved 737 FSB [R]eport which adds the 737
                   MAX.”

                    (In violation of Title 18, United States Code, Section 371).

       DANIEL S. KAHN                                   ERIN NEALY COX
       Acting Chief, Fraud Section                      United States Attorney
       Criminal Division                                Northern District of Texas
       United States Department of Justice



          _________________
                         _______________
                         ___
                         __
   By: ______________________________               By: ___________________________________
                   b Trial
       Cory E. Jacobs,   i l Attorney                    h d E. Meacham,
                                                        Chad         h       i
                                                                          Assistant U.S. Attorney
       New York Bar No. 4761953                         Texas Bar No. 00784584
       cory.jacobs@usdoj.gov                            CMeacham@usa.doj.gov

       Michael T. O’Neill, Assistant Chief              United States Attorney’s Office
       New York Bar No. 4689782                         Northern District of Texas
       michael.t.oneill@usdoj.gov                       1100 Commerce Street, 3rd Floor
                                                        Dallas, TX 75242
       Scott Armstrong, Trial Attorney                  214-659-8600
       D.C. Bar No. 993851
       scott.armstrong@usdoj.gov

       United States Department of Justice
       Criminal Division, Fraud Section
       1400 New York Avenue, N.W.
       Washington, D.C. 20005
       202-514-2000

                                                  2
